Case 2:04-cr-20397-SH|\/| Document 53 Filed 08/26/05 Page 1 of 2 Page|D 79

 

IN THE UNITED sTATES DISTRICT cOURT amW-~' -»---M
FOR THE WESTERN DISTRICT oF TENNESSEE _
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[PKNAS M. '1;{` }UU) _
UNITED sTATEs oF AMERICA, C|MU.S.DISWCTGU.BT
WDOFTN.MEWHS
vs. No. 04-20397-Ma

FREDDIE FORD,

Defendant.

 

ORDER GRANTING MOTION TO WITHDRAW AND
REFERRING MATTER TO MAGISTRATE JUDGE FOR APPOINTMENT OF COUNSEL

 

Before the court is the August 17, 2005, motion to withdraw
filed by Marty B. McAfee, appointed counsel for the defendant
Freddie Ford. For good cause shown, the motion is granted and
Mr. McAfee is allowed to withdraw from representing the defendant
in this matter. The matter is referred to the magistrate judge
for appointment of counsel for the defendant pursuant to the
Criminal Justice Act.

_ .'LSA
It is so ORDERED this day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
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Honorable Samuel Mays
US DISTRICT COURT

